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                                      UNITED STATES DISTRICT COURT
                                          DISTRICT OF MARYLAND                                  10/5 NOV -4 P I): 2 a
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                                                   MEMORANDUM


         TO:                Counsel of Record

         FROM:              Judge Roger W. Titus

         RE:                Uniled Slales o/AlIlerica v. Charleslon Harris
                            Criminal Case No, RWT 15-0548

         DATE:              November 4, 2015

                                                      ********

                 In accordance with the Speedy Trial Act, this case has been set for a trial having an
         estimated length of one to two weeks beginning at 9:00 a.m. on December 22, 2015.

                  All pretrial motions are to be filed on or before November 23, 2015. While there may
         be some circumstances under which pretrial motions must, of necessity, be fairly limited as to
         details, the expectation of the Court is that any pertinent details will be included in a reply
         memorandum.         Please remember that it is difficult for the Court to decide motions in a
         conscientious manner if pertinent facts or authorities arc disclosed for the first time during the
         hearing on the motion.

                 Not less than fourteen (14) days prior to the date of trial, the parties shall jointly prepare
         and submit to the court proposed voir dire questions, jury instructions and a verdict form and
         submit, separately, any voir dire questions, jury instructions or verdict form upon which they arc
         unable to agree. If the parties are in agreement as to any pattern jury instructions included in
         L. Sand, el al., Modern Federal Jury Instructions: Criminal Pattern Instructions, (Matthew
         Bender & Co., Inc.), they need only submit a list of the instruction numbers in the order in which
         they are proposed to be submitted to the jury. If a modified form of a pattern jury instruction is
         proposed, it should be submitted in red-line format to highlight the changes.
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         On November 24, 2015 at 4:30 p.m., a status conference will be held before the
undersigned. The status conference will be conducted by a telephone conference call initiated by
counsel for the government. At the status conference, the parties should be prepared to discuss
the following:

       I.     The status of any pending motions and whether there is any need for the tiling of
              additional motions.

       2.     Whether a hearing is necessary in connection with any pending motions, or
              motions to be filed at a later date and, if so, the date for the hearing.

       3.     A report from counsel on the status of any negotiations between the parties that
              might lead to a plea agreement and, if so, removal of the case from the trial
              calendar and scheduling of a date for the entry of a guilty plea.

       4.     An updated estimate from both parties as to the length of the trial.

       5.     Whether there needs to be any change in the date of the trial and, if so, the
              establishment of a new trial date.

       6.     Any other matters relating to the scheduling of the trial.

       Despite the informal nature of this memorandum, it shall constitute an Order of Court and
be docketed accordingly.




                                             Roger W.      us
                                             United-' tates District Judge
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